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UN|TED STATES D|STR_|CT COURT
EASTERN DISTR|CT OF |V|ISSOUR|
EASTERN D|V|S!ON

PATRFCK ENGLERT, d/b/a
PERFECT HEALT|-|,

P|aintiffs,
Cause No.
vs.

BEAUTY F|T, |NC.

A Florida Corporation

SERVE: `
Dimitrios |\/ientis
Registered Agent
1000 NW 105th Avenue
P|antation, FL 33322

JURY TR|AL DE|\_/|ANDED

\_/\_lv\_¢\,r\_/\_r\._/\_/\_/\-_/V\_/\_r\./\_/

Defendant.

PET|T|ON FOR _DAMAGES

CO|V|ES NOV\l:r P|aintiff, Patrick Eng|ert, d/b/a Perfect Hea|th, by and through
counse|, Andrew H. Koor, and for his Petition for Damages against Defendant, Beauty
Fit, |nc., states to the Court as follows, to-Wit:

JUR|SQ|CTION AND VENU|§

1. _That at a|| times herein mentioned F’|aintiffl Patrick Eng|ert, is an individual
residing in St. Charles County, i\flissouri.

2. j That upon information and belief, Defendant, BeautyFit, |nc., is a Florida
Corporation With its principal place of business at 1000 NVV 105th Avenue, P|antation,

Florida 33322. '

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3. That Defendant, BeautyFit, lnc. directly or through intermediaries ships,
se||s, offers for sa|e, and/or advertises a variety of products, including vitamins and diet
supplementsl in the United Statesl including the State of i\/iissouri.

4. That BeautyFit, |nc. does business throughout the United States, including
Within and throughout the State of iViissouri.

5. That individuals and entities throughout the United States, including Within
the State of Missouri, have used and continue to use the BeautyFit, lnc.'s Website
(BeautyFit.com) to purchase BeautyFit, lnc. products

6. That upon information and belief, P|aintiffs, Patrick Eng|ert, d/b/a Perfect
Health, state that Defendant, BeautyFit, |nc. does not maintain an office in the State of
i\/iissouri but does have sufficient minimum contacts in the State of IVlissouri through
Web~based sales to purchasers and through sale of its products to intermediaries
including distributors Defendant, BeautyFit, inc. is therefore subject to jurisdiction in the
State of i\/lissouri pursuant to RS|\/io. § 506.500 (1).

7. That the actions of Defendant, BeautyFit, |nc. described in this petition
aiso constitute a tort committed Within the State of i\/|issouri. Defendant, BeautyFit, |nc.
is therefore subject to jurisdiction in the State of i\/|issouri pursuant to RSiVIo. §
506.500(1).

8. That Defendant, BeautyFit, |nc. engaged in a contractual relationship vvith
P!aintiff, Patrici< Englert, dib/a Perfect Hea|th. Defendant Beauty Fit, inc. is therefore
subject to jurisdiction in the State of |Viissouri pursuant to RS|\/lo. § 506.500(1).

9. The amount in controversy this case is in excess of $75,000.00.

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COUNT l - FRAUD

COiVlES NOW, P|aintiff, Patrick Engiert, d/b/a Perfect Hea|th, by and through
counse|, Andrew l-i. Koor, and for Count | of his Petition for Damages against
Defendant Beauty Fit, lnc.l states to the Court as fo||oWs, to-Wit:

1. That P|aintiff, Patrick Englert, d/b/a _Perfect Health, realleges and
incorporates all of the allegations contained in this Petition for Damages as if they Were
fully set out herein.

2. That in approximately October 2013, P|aintiff, Patrick Engiert, d/b/a
Perfect Hea|th, began to purchase products from Defendant, BeautyFit, |nc..

3. That Defendant BeautyFit, |nc.’s, agents represented to P|aintiff at
purchase that Patrick Engiert, dib/a Pen‘ect Hea|th, Was authorized to distribute
BeautyFit, |nc."s products through sales on various on|ine marketplaces, including
Amazon.com.

4. From approximately October 2013 to Decernber 2016, Plaintiff, Patrick
Eng|ert, d/b/a Perfect Hea|th, sold Defendant, BeautyFit, |nc.’s, products on
Amazon.com.

5. That in approximately December 2016, P|aintiff, Patrick Eng|ert, d/b/a
Perfect Hea|th, began to receive e-mails from Defendant, BeautyFit, |nc.’sl compliance
team, Which indicated that Piaintiff Was not authorized to sell Defendant’s trademarked

prod ucts.

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6. That in approximately December 2016, P|aintiff, Patrick Eng|ert, d/b/a
Perfect Hea|th, contacted Defendant, BeautyFit,. lnc.’s, president and CEO, Jimmy
l\/lentis1 Who assured Plaintiff, Patrick Eng|ert, d/b/a Perfect Hea|th, that problems
concerning Plaintiff's sales of BeautyFit, lnc.’s trademarked product Would be resolved.

7. That in approximately January 2017, Defendant, BeautyFit, lnc., revoked
Plaintiff, Patrick Eng|ert, d/b/a Perfect Hea|th’s, authorization to sell Defendant’s
trademarked products on the Amazon platform/marketplace, and as a result Plaintiff,
Patrick Eng|ert, d/b/a Perfect Hea|th Was no longer able to seli the products he
purchased from Defendant on the Amazon platform/marketplace

8. That in making its fraudulent representation of its intent to do business
With Plaintiff, Patrick-Englert, d/b/a Perfect i-lealth, Defendant, BeautyFit, lnc., exercised
a reckless disregard for the truth or falsity of the statement it made, and a negligent
failure to exercise reasonable competence to ensure that they Were relaying truthful
information

9. That P|aintiff, Patrick Engiert, d/b/a Perfect Hea|th, had a right to rely on
Defendant, BeautyFit, lnc.’s assurances, that he Would be permitted to continue to sell
Defendant’s products on its current platforms, including but not limited to the Amazon
platform/marketplacel

10. That Defendant’s false representation consequently and proximately
caused Plaintiff, Patrick Englert, dib/a Perfect Health', damages in that at the time
Defendant, BeautyFit, lnc., revoked Plaintiffl Patrick Eng|ert, d/b/a Perfect Hea|th’s,

authorization to sell Defendant’s trademarked products on the Amazon

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platform/marketplace, Plaintiff’s inventory of Beauty Fit, inc.’s products contained in
excess of $100,000.00 Worth of BeautyFit, inc.’s trademarked products Which had been
purchased directly from Defendantl

’i1. That Defendant has refused to re-purchase the BeautyFit, lnc. products in
Plaintiff’s inventory or otherwise refund the Plaintiff’s purchase price of BeautyFit, |nc.’s
products

12. ' That Defendant, BeautyFit, lnc.'s, representation to Plaintiff, Patrick
Englert, dib/a Perfect l-leaith, that Plaintiff Was authorized to sell BeautyFit, lnc.’s
trademarked products on the Amazonp|atform/marketplace Was material to Plaintiff in
that P|aintiff relied on such representation When purchasing and maintaining an
inventory of BeautyFit, lnc.-’s trademarked products

13. That Defendant knew that its representation Was material to Plaintiff’s
decision to purchase:and maintain an inventory of BeautyFit, |nc.’s trademarked
products and that such representation Was false.

14. That Plaintiff, Patrick Englert, d/b/a Perfect Hea|th, Was entitled to rely on
Defendant, BeautyFitl lnc.’s, representation When purchasing and maintaining an
inventory of BeautyFit, lnc.’s trademarked products

15. That as a result of Defendant, BeautyFit, lnc.’s, representation to Plaintiff,
Patrick Englert, d/b/a_Perfect Heaith, Piaintiff acquired an inventory containing
approximately $100,000.00 Worth of BeautyFit, inc.’s trademarked products that Plaintiff

has been unable to sell due to Defendant, Beauty Fit, |nc.’s actions

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VVHEREFORE, Plaintiff Patrick Englert, d/b/a Perfect Hea|th prays forjudgment
against Defendant BeautyFit, lnc. for a sum that is fair and reasonable; and for such

further orders as to this Court shall appearjust and proper.

COUNT ll -§REACH OF CONiRACT

COl\/lES NOW, Plaintiff, Patrick Englert, dib/a Perfect Hea|th, by and through
counse|, Andrew H. Koor, and for Count ll of his Petition for Damages against
Defendant Beauty Fit, lnc., states to the Court as follows, to-wit:

1. That Plaintiff-, Patrick Englert, d/b/a Perfect Healthl realleges and
incorporates all of the allegations contained in this Petition for Damages as if they were
fully set out herein.

2. That Plaintiff, Patrick Englert, d/b/a Perfect i-lealth and Defendant,
BeautyFit, lnc., had a valid, legally enforceable contract for the sale of Defendant
Beauty Fit, lnc.’s products

3. That Plaintiff’s performance was perfected in that Plaintiff paid the full
amount agreed upon for Defendant Beauty Fit, lnc.’s products

4. That subsequent to Defendant Beauty Fit, lnc.’s delivery of all the agreed
upon products to Plaintiff, Plaintiff was stopped from selling those goods by Defendant
Beauty Fit, |nc..

5. That Defendant breached the contract between Plaintiff, Patrick Englert,

d/b/a Perfect Hea|th and Defendant, Beauty Fit, |nc..

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6. That due to Defendant’s breach of contractl Plaintiff, Patrick Englert, dib/a
Perfect i-lealth, suffered pecuniary and other |osses, including but not limited to
incidental and consequential damages

VVHEREFORE, Plaintiff prays forjudgment against Defendant, Beauty Fit, lnc.,
on Count ll Breach of Contract in an amount in.excess of $100,000.00 together with the
costs of this action, including attorney fees and such other and further relief as the

Court deems appropriate in the circumstances

COUNT |li -' V|OLAT|ON OF N|ERCHAND|SING PRACT|C§§» ACT

COl\/lES NOVV, Plaintiff, Patrick Englert, d/b/a Perfect Hea|th, by and through
counsel, Andrew i-l. Koor, and for Count ill of his Petition for Damages against
Defendant Beauty Fit, lnc., states to the Court as follows to-wit:

1. That Piaintiff, Patrick Englert, d/b/a Perfect Hea|th, realleges and
incorporates all of the allegations contained in this Petition for Damages as if they were
fully set out herein

2. That P|aintiff brings this Count pursuant to §§407.025 and 407.020,
RSlVlo.

3. That Defendant’s misrepresentations aforesaid regarding the products
merchantability produced are a deception, a deceptive practice, a fraud, false
statement, false pretense, false promise, misrepresentation and/or unfair practice in

connection with the sale or advertisement of the goods

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4. That Defendant’s misrepresentation aforesaid concealed, suppressed or
omitted material facts in connection with the sale or advertisement of the goods

5. That pursuant to §407.025, RSlVlo, Piaintiff has been damaged by
Defendant’s practices in an amount in excess of $100,000.

6. That pursuant to §407.025, RSl\/lo, punitive damages are appropriate
against Defendantl

7. That Plaintiff has expended attorneys fees and costs to in this matter and
requests this Court to award such attorneys fees and costs to Piaintiff and against
Defendant

VVHEREFORE, Plaintiff prays forjudgment against Defendant in an amount in
excess of $100,000.00 together with punitive damages in the amount of $300,000.00,
attorneys fees, the costs of this action and such other and further relief as the Court

deems appropriate in the circumstances

 

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